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 6                        IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
     Donald John Hatlelid,                          Case No. CV17-0153-PHX DGC
 9
                   Plaintiff,
10                                                  ORDER GRANTING MOTION TO
                   v.                               COMPEL ARBITRATION
11
     Bridgecrest Acceptance Corporation,
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                   Defendant.
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15         The Court, having considered the Amended Stipulation Resolving Motion to
16 Compel Arbitration filed by Donald John Hatlelid and Bridgecrest Acceptance
17 Corporation. Doc. 18.
18         IT IS ORDERED that the amended stipulation resolving motion to compel
19 arbitration (Doc. 18) is granted. The parties shall arbitrate this dispute, with the duty on
20 Plaintiff to initiate the arbitration process as prescribed in the Arbitration Agreement.
21         IT IS FURTHER ORDERED that this action is dismissed without prejudice.

22         Dated this 14th day of April, 2017.

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